                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF NEW YORK


 TRISURA INSURANCE COMPANY,

                        Plaintiff,                     Civil Action No. 1:23-cv-11053-GHW-JW

         -against-

 BIGHORN CONSTRUCTION AND
 RECLAMATION, LLC; BIGHORN
 INVESTMENTS AND PROPERTIES, LLC;
 BIGHORN SAND & GRAVEL LLC;
 BRIDGELINK COMMODITIES LLC;                                           AMENDED
 BRIDGELINK ENGINEERING LLC;                                          COMPLAINT
 BRIDGELINK INVESTMENTS, LLC;
 BRIDGELINK RENEWABLE ENERGY
 DEVELOPMENT LLC; BRIDGELINK
 RENEWABLE ENERGY INVESTMENTS LLC;
 INTERMOUTAIN ELECTRIC SERVICE, INC.;
 COLE WAYNE JOHNSON; CORD HENRY
 JOHNSON; CASSIE HAMILTON,

                        Defendants.


       Plaintiff, Trisura Insurance Company, by way of it Amended Complaint (“Complaint”)

against defendants, Bighorn Construction and Reclamation, LLC, Bighorn Investments and

Properties, LLC, Bighorn Sand & Gravel LLC, Bridgelink Commodities LLC, Bridgelink

Engineering LLC, Bridgelink Investments, LLC, Bridgelink Renewable Energy Development

LLC, Bridgelink Renewable Energy Investments LLC, Intermountain Electric Service, Inc., Cole

Wayne Johnson, Cord Henry Johnson, and Cassie Hamilton, alleges as follows:

                                   JURISDICTION AND VENUE

       1.      Jurisdiction is conferred upon this Court pursuant to 28 U.S.C. § 1332 in that this

is an action between citizens of different states and the amount in controversy exceeds $75,000.00,

exclusive of interest and costs.
       2.      Venue and jurisdiction is also proper in the United States District Court for the

Southern District of New York pursuant to the venue and jurisdiction provisions in the Indemnity

Agreement (referenced below) executed by the Defendants.

                                           PARTIES

       3.      Plaintiff, Trisura Insurance Company (“Trisura”), is a corporation organized and

existing under the laws of the State of Oklahoma, and maintains its principal place of business in

Oklahoma.

       4.      Upon information and belief, Defendant Bighorn Construction and Reclamation

LLC (“Bighorn Construction”) is a Wyoming limited liability company with its principal place of

business in Texas, and the members of Bighorn Construction are Cole Wayne Johnson and Cord

Henry Johnson, both of whom are residents of Texas; accordingly, Bighorn Construction is a

citizen of Texas for purpose of 28 U.S.C. § 1332.

       5.      Upon information and belief, Defendant Bighorn Investments and Properties, LLC

(“Bighorn Investments”) is a Wyoming limited liability company with its principal place of

business located in Texas, and the members of Bighorn Investments are Cole Wayne Johnson and

Cord Henry Johnson, both of whom are residents of Texas; accordingly, Bighorn Investments is a

citizen of Texas for purpose of 28 U.S.C. § 1332.

       6.      Upon information and belief, Defendant Bighorn Sand & Gravel LLC (“Bighorn

Sand”) is a Delaware limited liability company with its principal place of business in Texas, and

the sole member of Bighorn Sand is Bighorn Construction. The members of Bighorn Construction

are Cole Wayne Johnson and Cord Henry Johnson, both of whom are residents of Texas;

accordingly, Bighorn Sand is a citizen of Texas for purpose of 28 U.S.C. § 1332.




                                                2
       7.      Upon information and belief, Defendant Bridgelink Commodities LLC

(“Bridgelink Commodities”) is a Delaware limited liability company organized and with its

principal place of business in Texas, and, members of Bridgelink Commodities are Cole Wayne

Johnson and Cord Henry Johnson, both of whom are residents of Texas; accordingly, Bighorn

Sand is a citizen of Texas for purpose of 28 U.S.C. § 1332.

       8.      Upon information and belief, Defendant Bridgelink Engineering LLC (“Bridgelink

Engineering”) is a Delaware limited liability company with its principal place of business in Texas,

and the members of Bridgelink Engineering are Cole Wayne Johnson and Cord Henry Johnson,

both of whom are residents of Texas; accordingly, Bridgelink Engineering is a citizen of Texas for

purpose of 28 U.S.C. § 1332.

       9.      Upon information and belief, Defendant Bridgelink Investments, LLC (“Bridgelink

Investments”) is a Texas limited liability company with its principal place of business in Texas,

and the members of Bridgelink Investments are Cole Wayne Johnson and Cord Henry Johnson,

both of whom are residents of Texas; accordingly, Bridgelink Investments is a citizen of Texas for

purpose of 28 U.S.C. § 1332.

       10.      Upon information and belief, Defendant Bridgelink Renewable Energy

Development LLC (“Bridgelink Renewable Energy Development”) is a Delaware limited liability

company with its principal place of business in Texas, and the members of Bridgelink Renewable

Energy Development are Cole Wayne Johnson and Cord Henry Johnson, both of whom are

residents of Texas; accordingly, Bridgelink Renewable Energy Development is a citizen of Texas

for purpose of 28 U.S.C. § 1332.

       11.     Upon information and belief, Defendant Bridgelink Renewable Energy

Investments LLC (“Bridgelink Renewable Energy Investments”) is a Delaware limited liability



                                                 3
company with its principal place of business in Texas, and the members of Bridgelink Renewable

Energy Investments are Cole Wayne Johnson and Cord Henry Johnson, both of whom are residents

of Texas; accordingly, Bridgelink Renewable Energy Investments is a citizen of Texas for purpose

of 28 U.S.C. § 1332.

       12.     Upon information and belief, Defendant Intermountain Electric Service, Inc.

(“Intermountain”) is a corporation organized and existing under the laws of the State of Wyoming

and has its principal place of business in Texas.

       13.     Upon information and belief, Defendant Cole Wayne Johnson is an individual adult

resident of Texas (“Cole Johnson”).

       14.     Upon information and belief, Defendant Cord Henry Johnson is an individual adult

resident of Texas (“Cord Johnson”).

       15.     Upon information and belief, Defendant Cassie Hamilton is an individual adult

resident of Texas (“Cassie Hamilton”).

                                         GENERAL ALLEGATIONS

       I.      THE INDEMNITY AGREEMENT

       16.     Bridgelink Engineering, at all relevant times, was engaged in the engineering,

procurement and construction business.

       17.     Bridgelink Engineering was required to provide surety bonds in connection with

certain of its construction contracts.

       18.     On or about February 4, 2022, in consideration for and to induce Trisura, as surety,

to issue certain surety bonds on behalf of Bridgelink Engineering, as principal, Bighorn

Construction, Bighorn Investments, Bighorn Sand, Bridgelink Commodities, Bridgelink

Investments, Bridgelink Renewable Energy Development, Bridgelink Renewable Energy



                                                    4
Investments, Intermountain, Cole Johnson, Cord Johnson, and Cassie Hamilton, (collectively, the

“Indemnitors”), executed and delivered an Indemnity Agreement in favor of Trisura, as

indemnitee.

       19.    A true and accurate copy of the Indemnity Agreement is annexed hereto as Exhibit

A.

       20.    Pursuant to the Indemnity Agreement, the Indemnitors agreed:

              INDEMNITY

              Each of the Indemnitors shall indemnity and keep indemnified the
              Surety, against any and all losses, charges, expenses, costs, claims,
              demands and liabilities (hereinafter called “Indemnity Losses”) of
              whatsoever kind or nature (including, but not limited to, the fees and
              disbursements of adjusters, consultants and counsel and the
              establishment or increase of a reserve to cover any possible
              Indemnity Loss) which the Surety may sustain or incur:

                       (a) by reason of having executed or procured the execution
                           of any Bond(s) (or an allegation that the Surety should
                           have done so), including, but not limited, Indemnity Loss
                           incurred in making any investigation in connection with
                           any Bond, prosecuting or defending any action in
                           connection with any Bond, obtaining the release of any
                           Bond; or
                       (b) by reason of the failure of the Indemnitors to perform or
                           comply with the Agreement or any Bonding Facility; or
                       (c) in enforcing any of the covenants and conditions hereof.

       Ex. A at ¶ 2.

        21. Pursuant to the Indemnity Agreement, the Indemnitors further agreed:

              SETTLEMENT OF CLAIMS

              (a) The Surety shall have the sole right to pay, settle or compromise,
                  without any prior obligation to notify the Indemnitors, any
                  charge, expense, cost, claim, demand, suit, judgment or liability
                  under any Bond(s), and any such payment, settlement or
                  compromise shall be binding upon the Indemnitors and included
                  as an Indemnity Loss.



                                                 5
       (b) In the event of any such payment, settlement investigation or
           compromise by the Surety, an itemized statement thereof sworn
           to by any officer or authorized representative of the Surety, or
           the voucher(s), cancelled cheque(s) or other evidence of such
           payment, settlement or compromise, shall be prima facie
           evidence of the fact and amount of the liability of the
           Indemnitors under this Agreement in respect of such payment,
           settlement or compromise.
       (c) In the event of any payment by the Surety, the Indemnitors agree
           that in any accounting between the Surety and the Indemnitors,
           the Surety shall be entitled to charge for any and all
           disbursements made by it in and about the matters contemplated
           by this Agreement.

Ex. A at ¶ 10.

22.    Pursuant to the Indemnity Agreement, the Indemnitors further agreed:

       GOVERNING LAW AND JURISDICTION

       Each Indemnitor understands and agrees that the interpretation land
       enforcement of this Agreement shall be governed, construed, and
       interpreted in accordance with the laws of the State of New York,
       without giving effect to any conflicts of laws principles of that State
       or any other State or jurisdiction. Each Indemnitor further
       understands and agrees that the venue for any suit, action or
       proceeding, or otherwise refuses to exercise jurisdiction over any
       dispute that may arise, each Indemnitor further understands and
       agrees that the venue shall be in the federal courts for the State of
       New York unless any jurisdictional prerequisites are not met, in
       which case it will lie with the state courts of New York. Each
       Indemnitor irrevocably and unconditionally submits to the
       jurisdiction of said courts and waives any claim or defense in any
       such suit, action or proceeding based on any alleged lack of personal
       jurisdiction, improper venue, forum non conveniences, or any
       similar basis.

Ex. A at ¶ 28.

23. Under the Indemnity Agreement, the Indemnitors agreed:

       DEFENSE-RESERVE-DEPOSIT

       (b) Upon an Event of Default or determination by Surety that a
           potential for Indemnity Loss Exists, Surety may demand that
           Indemnitors deposit a sum or money equal to an amount

                                         6
                   determined by Surety, or collateral security of a type and value
                   satisfactory to Surety, to cover any Indemnity Loss or
                   anticipated Indemnity Loss, whether Surety has established or
                   increased any reserve, made any Indemnity Loss payment, or
                   received any notice of any claims therefor. Without limiting the
                   generality of the foregoing, if for any reason the Surety deems it
                   necessary to establish or to increase a reserve (the amount of
                   which shall be in the sole discretion of the Surety, as from time
                   to time revised) to cover any possible Indemnity Loss
                   (including, for greater certainty, the costs of investigating and
                   defending any claim or demand and interest on the amount
                   thereof at the rate or rates claimed on or applicable to such a
                   demand, to the probably date of its resolution:, the Indemnitors
                   shall deposit with the Surety immediately upon demand (and
                   make such further deposits as may be required of) cash or
                   collateral satisfactory to the Surety in an amount equal to such
                   reserve or such increase. The Indemnitors acknowledge that the
                   failure of the Indemnitors to deposit with the Surety,
                   immediately upon demand, the sum demanded by the Surety
                   shall cause irreparable harm to the Surety for which the Surety
                   has no adequate remedy at law, and that the Surety shall be
                   entitled to injunctive relief (including specific performance of
                   the obligation to make such deposit with the Surety), and hereby
                   waive any claims or defenses to the contrary.

Ex. A at ¶ 9.

       II.      THE SOLAR CONTRACT AND THE SOLAR BONDS

       24.      On or about February 4, 2022, Jicarilla Solar 1, LLC (“Jicarilla Solar”) entered into

an agreement with Bridgelink Engineering pursuant to which Bridgelink Engineering agreed to

perform certain work in connection with a solar power facility engineering, procurement and

construction contract (the “Solar Contract”).

       25.      On or about February 10, 2022, Trisura, as surety, on behalf of Bridgelink

Engineering, as principal, issued a Performance Bond (the “Solar Performance Bond”) and a

Payment Bond (the “Solar Payment Bond”), each bearing Bond No. TIC01702, and each in the

penal sum of $24,465,404.00 (collectively, the “Solar Bonds”), in favor of Repsol Renewables

Development Company, LLC, as owner (“Owner”), as modified by Rider No. 1, in connection

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with the Solar Contract. A copy of the Solar Bonds and Rider No. 1 are annexed hereto as Exhibit

B.

        III. JICARILLA SOLAR DECLARES BRIDGELINK ENGINEERING IN DEFAULT ON THE
             JICARILLA SOLAR CONTRACT

       26.    On or about October 14, 2022, Jicarilla Solar provided Bridgelink Engineering and

Trisura with Notice of Termination and for Contractor Default in connection with Solar Contract.

       27.    Further, Owner made demand on Trisura under the Solar Performance Bond.

        IV.   THE INDEMNITORS FAIL TO POST COLLATERAL WITH TRISURA

       28.    On or about January 13, 2023, Trisura demanded that the Indemnitors post

collateral with Trisura under the terms of the Indemnity Agreement in connection with the demand

and claims asserted against the Solar Performance Bond. A copy of the collateral demand letter is

annexed hereto as Exhibit C.

       29.    To date, the Indemnitors have failed to post this collateral with Trisura as required

by the Indemnity Agreement.

       V.     TRISURA’S LOSSES AND EXPENSES

       30.    As a result of the declaration of the Solar Contract in default and termination of

Bridgelink Engineering, Trisura was required to make payments to the Owner to complete the

Solar Contract pursuant to the Solar Performance Bond.

       31.    By reason of Trisura having executed the Bonds, the failure of the Indemnitors to

perform or comply with this Indemnity Agreement and/or Trisura’s enforcing any of the covenants

and conditions of the Indemnity Agreement, Trisura has paid, sustained, or incurred Indemnity

Losses (as that term is defined in the Indemnity Agreement) in an amount exceeding $75,000.00.




                                                8
                                  FIRST CAUSE OF ACTION

                               CONTRACTUAL INDEMNIFICATION
                                 AGAINST THE INDEMNITORS

       32.     Trisura repeats and re-avers each and every one of the allegations set forth in the

preceding paragraphs of this Complaint with the same force and effect as if each were fully set

forth at length herein.

       33.     The Indemnitors have failed to honor, and have breached, their obligations under

the Indemnity Agreement to, among other things, indemnify Trisura for the Indemnity Losses it

incurred by reason of having executed the Bonds, the failure of the Indemnitors to perform or

comply with the Indemnity Agreement, and/or Trisura’s enforcing of any of the covenants and

conditions of the Indemnity Agreement.

       34.     As a result of the Indemnitors’ breach of the Indemnity Agreement, Trisura has

incurred substantial Indemnity Losses.

       WHEREFORE, Trisura respectfully demands judgment against the Indemnitors, jointly

and severally, as follows:

       (a)     for contractual indemnification for the Indemnity Losses incurred by Trisura, and

               any and all liability, loss, cost, expense, professional and consulting fees and

               attorneys’ fees to be incurred by Trisura, together with appropriate interest thereon;

       (b)     for declaratory relief, declaring that the Indemnitors are jointly and severally liable

               to Trisura for all Indemnity Losses to which Trisura may be exposed or which it

               may sustain;

       (c)     for an order, compelling each Indemnitor to perform its obligations to Trisura under

               the Indemnity Agreement and the Bonds; and




                                                 9
         (d)   awarding interest, costs of suit, attorneys’ fees and such other and further relief as

               may be just and equitable.

                                SECOND CAUSE OF ACTION

                               COMMON LAW INDEMNIFICATION
                              AGAINST BRIDGELINK ENGINEERING

         35.   Trisura repeats and re-avers each and every one of the allegations set forth in the

preceding paragraphs of this Complaint with the same force and effect as if each were fully set

forth at length herein.

         36.   As between Trisura and Bridgelink Engineering, Trisura is secondarily obligated

under the Bonds, while Bridgelink Engineering is primarily obligated under the Bonds, and

otherwise owes a duty to Trisura to procure the discharge of all obligations arising under the

Bonds.

         37.   Based on the foregoing, Bridgelink Engineering should be required to pay any

financial obligations related to the Bonds issued by Trisura on behalf of Bridgelink Engineering.

         38.   Trisura has sustained and/or will sustain damages by reason of Bridgelink

Engineering’s failure to honor its common law obligations arising under the Bonds.

         WHEREFORE, Trisura respectfully demands judgment against Bridgelink Engineering

 as follows:

         (a)   ordering Bridgelink Engineering to discharge any financial obligations asserted

               against Trisura under the Bonds, and to reimburse Trisura for any outlays which it

               may have had to make in connection therewith;

         (b)   ordering and directing Bridgelink Engineering to immediately reimburse Trisura in

               an amount sufficient to indemnify Trisura from any and all liability, loss, cost and




                                                10
               expense incurred as a result of having executed the Bonds, together with

               appropriate interest thereon;

       (c)     awarding in favor of Trisura, and against Bridgelink Engineering, damages in the

               amount of all expenditures, and outlays made by Trisura, including attorneys’ fees,

               consultant’s fees, litigation expenses, interest and court costs; and

       (d)     awarding interest, costs of suit, attorneys’ fees and such other and further relief as

               may be just and equitable.

                                  THIRD CAUSE OF ACTION
                          SUBROGATION AGAINST BRIDGELINK ENGINEERING

       39.     Trisura repeats and re-avers each and every one of the allegations set forth in the

preceding paragraphs of this Complaint with the same force and effect as if each were fully set

forth at length herein.

       40.     To the extent that Trisura has, or will make, payments to extinguish Bridgelink

Engineering’s debts arising from the Bonds, Trisura has, and will, become subrogated to the rights

of, among others, those whom it has paid, or will pay in connection with the Bonds.

       41.     As a result of Bridgelink Engineering’s failure to honor its obligations under the

Bonds, Trisura has sustained damages and/or is likely to sustain damages.

       WHEREFORE, Trisura respectfully demands judgment against Bridgelink Engineering

as follows:

       (a)     for subrogation in an amount equal to any payment made, or hereafter made,

               by Trisura on Bridgelink Engineering’s behalf in connection with any bond

               issued by Trisura to Bridgelink Engineering;

       (b)     for attorneys’ fees and costs of suit; and




                                                 11
